               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA               :       1:17CR209-4
                                       :
               v.                      :
                                       :
DANYEL-ROY KIERAN                      :
LEMONS-KING                            :       ORDER


      This matter comes before the Court on the Government’s Motion to

Revoke Pretrial Release [Doc. #___] pursuant to 18 U.S.C. § 3148(b). In the

Motion, the Government asks the Court to issue a warrant for Defendant’s

arrest and to revoke Defendant’s pretrial release based on the charge that

Defendant has violated the conditions of his release. The Court has reviewed

the Motion and will issue a warrant for Defendant’s arrest pursuant to 18

U.S.C. § 3148(b).

      IT IS THREFORE ORDERED that the Government’s Motion [Doc.

#____] is GRANTED to the extent that a Warrant for Arrest of the Defendant

shall be issued contemporaneously with this Order, and that upon Defendant’s

arrest, the Clerk is directed to notify the undersigned and a hearing will be

scheduled pursuant to § 3148(b).




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This the 5th day of July, 2017.



                            _______________________________________
                            UNITED STATES MAGISTRATE JUDGE




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